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A0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGhlENT IN A CRIhIINAL CASE

                                                              CASE NUMBER:        8:04-cr-563-T-23hIAP
                                                              USh.1 NUMBER:       42464-018
VS.


JUVENCIO SALINAS CRUZ
  a/k/a Juvrncio Slims Cruz                                   Defendant's Attorney: Adam Allen, pda

THE DEFENDANT:

X pleaded guilty to counts ONE as TWO of the Indictment.
-


TITLE & SECTION                             NATURE OF OFFENSE                            OFFENSE ENDED             COUNT

46 Appendix U.S.C. $8 1903(a)               Possession With Intent to Distribute 5     November 13. 2004           ONE
and 1903(g). 18 U.S.C. $ 2, and             Kilograms or More of Cocaine While
21 U.S.C. 8 960(b)(l)(B)(ii)                Aboard Vessels Subject to the Jurisdiction
                                            of thc United States

46 Appendix U.S.C. $8 1903(a),              Conspiracy to Possess With Intent to    November 13, 2004              TWO
1903(g). and 1903(j), and 2 1               Distribute 5 Kilograms or More of
U.S.C. $ 960(b)(l)(B)(ii)                   Cocaine While Aboard Vessels Subject to
                                            the Jurisdiction of the United States


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.



IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, thc defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Dale of Imposition of Sentence: July 13, 2005




                                                                                                                                J
                                                                                    STEVEN D. hlERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: July      3G,2005
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:        TUVENClO SALINAS CRUZ                                                                     Judgment - Page 2 of
Case No.:         8:04-cr-563-T-23ivIAP




                 The defendant is hercby comlitted to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of Oh% HUNDRED THIRTY-FIVE (135) MONTHS as to counts one and two of the Indictment,
both ternis to run concurrently.




-
X The court makes the following recommendations to the Bureau of Prisons: that the defendant be placed in FCI Coleman,
Florida or if unavailable. FCI Miami. Florida.



     The defendant is remanded to the custody of the United States Marshal.
- The defendaar shall surrender ro the United States Marshal for this district.
          - at - a.m./p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States hfarshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

at                                                                        . with a certified copy of this judgment.

                                                                                         United States Marshal

                                                                        By:
                                                                        Deputy Marshal
         Case 8:04-cr-00563-SDM-TGW Document 168 Filed 07/14/05 Page 3 of 6 PageID 281
A 0 245B (Rev. 12/03) Sheer 3 - Supervised Release

Defendant:           JUVENCIO SALINAS CRUZ                                                                    Judgment - Page 3 of 6
Case No. :           8:02-cr-563-T-23MAP

                                                         SUPERVISED RELEASE

        Upon release from imprisonment, thc defendant shall be on supervised release for a term of SIXTY (60) MOKTHS as to
counts one and two of the Indictment, both terms to r u n concurrently.

        The defendant shall report to the probation oftice in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defend'ant shall not commit another federal, state, or local crime. and shall not possess a
firearm. ammunition, or destructive device as defined in 18 U.S.C.5 921.

X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer

           If this judgment imposes a f i e or a restitution it is a condition of supervised release that the defendant pay in accordance
 w i h the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
 1   >       thc defendant shall not leave thc judicial district without the permission of thc court or probation officer:

 2)          thc defendant shall report to the probation officcr and shall submit a truthful and conipletc writtcn report within the first five days
             of each month:

 3)          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:

 3)          thc defendant shall support his or her dcpcndcnts and meet other family responsibilities:

 5)          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. triaining. or other
             acceptable reasons:

 6)          the defendant shall notify the probation officer at least ten days prior to any change in residence or employrncnt;

 7)          the dcfcndant shall refrain from exccssivc usc of alcohol and shall not purchase. posscss, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prcscribcd by a physician:

 8)          the defendant shall not frcqucnt places where controlled substances arc illegally sold, used, distributed, or administcred;

 9)          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted
             of a fclony, unless granted permission to do so by the probation officer:

 10)         the defendant shall permit a probation officer to visit him or hcr at any time at home or elsewhcrc and shall permit confiscation of
             any contraband observed in plain view of the probation officcr:

  1 1)       the defendant shall notify thc probation officer within seventy-two hours of being arrested or questioned by a law cnforcement
             officer:

  12)        the defendant shall not cntcr into any agreement to act as an informer or a special agent of a law cnforccmcnt agency without the
             permission of the court:

  13)        as directed by the probation officer. the defendant shall notifythird parties ofrisks that may be occasioned by thc dcfendant's criminal
             rccord or personal history or characteristics and shall permit thc probation officer to make such notifications and to confirm the
             defcndant's compliance ~ i t such
                                            h notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        JUENCIO SALINAS CRUZ                                                                 Judgment - Page 4 of 6
Case No.:         8:(W-cr-563-T-23MAP
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditioris of supervised release:

X        If the defendant is deported, he shall not reenter the United States without the express permission of the appropriate
         governmental authority.
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A 0 1458 (Rev 12/03) Sheer 5 - Criminal Monetary Penalties
Defendant:         JUVENCIO SALINAS CRUZ                                                            Judement - Page 5--
                                                                                                       Y
                                                                                                                            of 6
                                                                                                                               --
Case No.:          8:04-cr-563-T-23MAP

                                         CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessnient                          -
                                                                Fine                      Total Restitution

         Totals:           $200.00                              $ ~aived                   $


-        The determination of restitution is deferred until -.          An Anlerlcled Jrtdgnlenr in a Crinrind Case ( A 0 245C) will
         be entered after such determination.
         The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa nient column below. However, pursuant to 18 U.S.C. 5
         3664(i). all non-federal victinls must be paid before the dnited States.
                                                                                                             Priority Order or
                                                *Total                     Amount of                         Pcrccntage of
                                              Amount of 1,oss           Restitution Ordered                  Pavmcnt




                            Totals:           L                         S

-        Restitution amount ordered pursuant to plea agreement S
-        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the dale of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
-        The court determined that the dcfcndant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine     - restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for rhe total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
                                                                   !f
committed on or after September 13, 1994, but before April 23, 1 96.
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A 0 2458 (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        JUVENCIO SALINAS CRUZ                                                             Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lu~npsum payment of $ 200.00 due immediately, balance due
                            -not later than                   . or
                            - in accordance           - C , - D, - E or - F below; or
                  Payment to begin immediately (may be combined with -C, -D, or -F below); or
                  Payment in equal                 (e.g., weekly, n~onthly,quarterly) installments of S             over a
                  period of          (e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
                  Payment in equal                ( e . ~ .weekly,
                                                           ,       monthly, quarterly) installments of $             over a
                  period of             , (e.g., mon 1s or years) to commence                     (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision: or
                   Payment during the term of supervised release will commence within                         (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
                   Special irlstructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment in~posesa period of                            payment of criminal
                                        e;                           S
monetar penalties is due during in1 rison~nent.All cri~ninamonetary penalties,
         B
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
                                                                                                                    made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) conlmunity restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
